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                         EXHIBITB
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             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                   DIRECTOR KEVIN KlSH

             2218 Kau5en Drive, Suite 100 I E[lc Grove 1CA I 95758
             (800)884·1684 (Voice) 1(800) 700.2320 (liY) 1California's Relay Service at 711
             hnp://www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov



     November 16, 2018

     Evan Dwin
     Dwin Legal, APC, 2121 Palomar Airport Road Suite 170
     Carlsbad, California 92011

     RE:    Notice to Complainant's Attorney
            DFEH Matter Number: 201811-04256716
            Right to Sue: Kailikole I Palomar Community College District

     Dear Evan Dwin:

     Attached is a copy of your complaint of discrimination filed with the Department of Fair
     Employment and Housing (DFEH) pursuant to the California Fair Employment and
     Housing Act Government Code section 12900 et seq. Also attached is a copy of your
     Notice of Case Closure and Right to Sue.

     Pursuant to Government Code section 12962, DFEH will not serve these
     documents on the employer. You must serve the complaint separately, to all named
     respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
     information regarding filing a private lawsuit in the State of California. A courtesy "Notice
     of Filing of Discrimination Complaint" is attached for your convenience.

     Be advised that the DFEH does not review or edit the complaint form to ensure that it
     meets procedural or statutory requirements.

     Sincerely,


     Department of Fair Employment and Housing




                                                                                              Exhibit B
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             http://wWW.dfeh.a.gov I email: contact.center@dfeh.ca.aov



     November 16, 2018

     RE:    Notice of Filing of Discrimination Complaint
            DFEH Matter Number: 201811-04256716
            Right to Sue: Kailikole I Palomar Community College District

     To All Respondent(s):

     Enclosed is a copy of a complaint of discrimination that has been filed with the
     Department of Fair Employment and Housing (DFEH) in accordance with Government
     Code section 12960. This constitutes service of the complaint pursuant to Government
     Code section 12962. The complainant has requested an authorization to file a lawsuit.
     This case is not being investigated by DFEH and is being closed immediately. A copy of
     the Notice of Case Closure and Right to Sue is enclosed for your records.

     Please refer to the attached complaint for a list of all respondent(s) and their contact
     information.

     No response to DFEH is requested or required.

     Sincerely,


     Department of Fair Employment and Housing




                                                                                                  Exhibit B
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             http://www.dfeh.ca.sov 1email: contact.center@dfeh.ca.sov



     November 16, 2018

     Kathryn Kailikole
     1145 Festival Road
     San Marcos, California 92078

     RE:    Notice of Case Closure and Right to Sue
            DFEH Matter Number: 201811-04256716
            Right to Sue: Kailikole I Palomar Community College District

     Dear Kathryn Kailikole,

     This letter informs you that the above-referenced complaint was filed with the
     Department of Fair Employment and Housing (DFEH) has been closed effective
     November 16, 2018 because an immediate Right to Sue notice was requested. DFEH
     will take no further action on the complaint.

     This letter is also your Right to Sue notice. According to Government Code section
     12965, subdivision (b), a civil action may be brought under the provisions of the Fair
     Employment and Housing Act against the person, employer, labor organization or
     employment agency named in the above-referenced complaint. The civil action must be
     filed within one year from the date of this letter.

     To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
     Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this .
     DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
     whichever is earlier.

     Sincerely,


     Department of Fair Employment and Housing




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  1                    COMPLAINT OF EMPLOYMENT DISCRIMINATION
                           BEFORE THE STATE OF CALIFORNIA
  2                  DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                     Under the California Fair Employment and Housing Act
  3                              (Gov. Code, § 12900 et seq.)
  4
      In the Matter of the Complaint of
  5    Kathryn Kailikole                                        DFEH No. 201811-04256716

  6                                  Complainant,
  7 vs.

  8    Palomar Community College District
       1140 West Mission Road, San Marcos, CA 92069,
  9    San Marcos, California 92069
 10
                           Respondents
 11
 12   1. Respondent Palomar Community College District is an employer subject to
      suit under the California Fair Employment and Housing Act (FEHA) (Gov. Code, §
 13   12900 et seq.).
 14
    2. Complainant Kathryn Kalllkole, resides in the City of San Marcos State of
 15 California.

 16 3. Complainant alleges that on or about June 13, 2018, respondent took the
      following adverse actions:
 17

 18 Complainant was discriminated against because of complainant's disability
    (physical or mental) and as a result of the discrimination was terminated,
 19 suspended, denied a work environment free of discrimination and/or retaliation,
    denied reasonable accommodation for a disability, other.
 20
      Complainant experienced retaliation because complainant reported or resisted
 21
      any form of discrimination or harassment, participated as a witness in a
 22 discrimination or harassment claim, requested or used a disability-related
    accommodation and as a result was terminated, reprimanded, suspended, denied a
 23 work environment free of discrimination and/or retaliation.
 24
 25 Additional Complaint Details: This case concerns the Palomar Community
    College District's ("Defendant" or the "District") campaign to discredit, discriminate
 26
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  1 against, embarrass, retaliate against and illegally terminate Plaintiff Dr. Kathryn
    Kailikole ("Plaintiff or uor. Kailikole") who was the Dean of Mathematics and the
  2 Natural and Health Sciences ("MNHS") Division for Palomar Community College
    ("Palomar College").
  3
  4   A. Plaintiff Is Appointed As Interim Dean.

  5      On or about January 13, 2016, Daniel Sourbeer, the Dean of the Mathematics
      and the MNHS Division accepted the position of Interim Vice-President of Instruction
  6   which required the College to hire an interim Dean.
  7
        Plaintiff was hired as interim Dean of the MNHS Department or about January 13,
  8   2016 Plaintiff was recommended for the position by Sourbeer.

  9      The term of Plaintiffs written Contract to be employed as Interim Dean was
    January 13, 2016 through June 30,2016. The Agreement was amended on May
 10 10,2016 so that Plaintiffs term as Interim Dean was extended from July 1,2016

 11 through June 30,2017. Thus, as of May 10, 2016, the administration and Board was
    plainly satisfied with Plaintiffs performance.
 12
       Pursuant to her contract, Plaintiff could only be terminated for a "material and
 13 substantial breach" of her Agreement and/or "for cause." Cause is defined as
    "actions, omissions, or behaviors which are detrimental to the operations of the
 14
    District and/or its major instructional, student and administrative divisions, or which
 15 impair the District's mission purpose or objectives ... which includes, but is not
    limited to, unsatisfactory work performance, dishonesty, misconduct, unprofessional
 16 conduct, or insubordination."

  17 B.     Plaintiff Reports Professors Nakajima and Gerwig To The Campus
 18        Police For Improperly Using An Airgun In The Classroom.

 19      Shortly after her appointment as interim Dean, on or about April 19,2016, two
    students advised Plaintiffs assistant, Debra McBrayer of a safety concern regarding
 20 their Physics 230 Class.
 21
       The students reported that Professor Takashi Nakajima ("Nakajima") used an
 22 airsoft gun as part of a rotational inertia lab in an unsafe manner. Specifically, the
    students alleged that. among other things, Nakajima failed to take appropriate safety
 23 measures and stayed in the back of the room talking with Gerwig and other students
    while the gun was being used.
 24
 25      Immediately after receiving the report from the two students, Ms. McBrayer
    reported the incident to the Campus Police.
 26

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  1 When Plaintiff returned to her office, she spoke with the students and Ms. McBrayer.

  2     Ms. McBrayer informed Plaintiff that she spoke with the Campus Police. Plaintiff
    responded by calling the Campus Police and requesting that they come to her office
  3
    to speak with her.
  4
        At Plaintiffs request, the Campus Police conducted an investigation, including
  5 dispatching Officer So'Oto of the Palomar Community College Police Department to
    meet with Plaintiff and the two students.
  6
  7      During the course of the investigation, Plaintiff provided Officer So'Oto with a
    copy of the District's policy on the use of weapons in the class room, which requires
  8 that such uses are approved by the Chief of Police. The students later e-mailed Dr.
    Kailikole the details of their allegations as well as a video, which she provided to the
  9 Campus Police.
 10
        In addition to reporting the matter to the Campus Police, Plaintiff reported the
 11 incident to her supervisor, Sourbeer.
    Officer So'Oto interviewed Nakajima as part of his investigation. Nakajima told him
 12 that he had been using the gun as part of his curriculum for two years.

 13       Officer So'Oto determined that Nakajima needed to get approval from the Chief
      of Police if he wanted to use the gun in class.
 14
       Accordingly, Plaintiff directed Nakajima to cease using the gun without first
 15   obtaining approval from the Chief of Police.
      At the time of the gun incident, Plaintiff had only worked for the District for about
 16   three months. Thus, she was the first (and only) administrator to ever take any
      action on Nakajima's use of an airsoft gun in his physics lab, even though it started
 17   two years before Plaintiff's appointment as Dean. Plaintiff did not receive any further
 18   complaints about the gun after she directed Nakajima to stop using it.

 19   c.       The District Promotes Dr. Kaikole to Dean Of The MNHS Division.

 20        On April 28, 2017, Sourbeer submitted a formal evaluation of Plaintiff's
      performance as Interim Dean.
 21
 22       In the review, Sourbeer stated that Plaintiff "stepped into the MNHS Interim
      Dean position with confidence and passion." Sourbeer further stated that Plaintiff
 23   had been "a fierce advocate for students and has taken on some difficult issues:·
 24        In addition. Sourbeer determined that:
 25
                      "[m]orale" was high in the division which "speaks" to Plaintiffs
 26
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  1                "ability to work effectively with faculty and staff in her
                    division."
  2
              •       Plaintiff is "an excellent communicator" and that her
  3
                   "contributions toward grant writing and management have
  4                 been superior."

  5            • Plaintiff has "an excellent understanding of budgets and
                 how to use them.
  6
  7            •      Plaintiff has "a tremendous work ethic and works to
                      exhaustion" and that she "wrote a funded proposal for $2m
  8                   in one day."

  9               •   That the "welfare" of the students is "always in
                       [Plaintiffs] thoughts, and she is also appreciative of the
 10                    commitments and work of staff and faculty."
 11
        In May 2017, Dr. Jack Kahn was hired by the District as the Vice-President of
 12 Instruction. Rather than exercise his retreat rights, Sourbeer retired, which left open
    the permanent position of Dean of the MNHS Department. Due to its satisfaction
 13 with Plaintiffs performance as Interim Dean, the Board promoted Plaintiff to the
    position of Dean of the MNHS Department.
 14
 15     Plaintiff was hired as Dean of the MNHS Department pursuant to an
    Employment Contract with the District dated as effective April11, 2017 and
 16 executed by Plaintiff on May 9, 2017. The term of the Employment Contract is July
    1,2017 through June 30,2019. As with her prior contracts, Plaintiff could only be
 17 terminated for "a material and substantial breach of the agreement" and/or for
 18 "cause."
 19 D.      Plaintiff Reports Racist And Sexually Harassing Conduct Bv
           Nakajima and Gerwig.
 20
           Sometime in May 2017, the Chair of the Physics and Engineering Department,
 21   Dr. Daniel Finkenthal reported to Plaintiff that a student complained to him about
 22   various posters and other materials that were posted conspicuously on the walls and
      doors of rooms NS-249 and NS-252 in the Physics and Engineering Department.
 23   Dr. Finkenthal showed the materials to Plaintiff. NS-249 and NS-252 are rooms
      used by Nakajima and Professor Arthur Gerwig ("Gerwig").
 24   On May 31,2017, in response to the report from Dr. Finkenthal, Plaintiff reported to
      Shawna Cohen, Manager Equal Employment Opportunity and Compliance with the
 25
      District's Deputy Tatle IX Coordinator, that she received the report regarding the
 26
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   1 offensive postings. The next day, a group of administrators reviewed the materials
     and removed them after determining that the postings violated federal, state and
   2 District nondiscrimination regulations, including Title IX.
   3
       The postings included:
   4
           • A recitation of a nmeumonic device stating: "Black Boys
   5                  Rape Our Young Girls But Violet Gives Willingly Get Some
                      Now."
   6
   7          •          A posting entitled "Vogue May Edition" which portrayed a
                      student lying across the hood of a pickup truck holding a
   8                  piece of paper with a drawing of a penis in an enlarged and
                      gratuitous characterization.
   9
                  •        A posting portraying a Iatino student named Juan which
  10                   stated "2017 you know you juant me?/Hello Ladies·· as a
  11                   racist play on the student's name.

  12              •         A sexually harassing and racist posting which stated "Dick
                        got her like" which was accompanied by a hashtag remark
 13                     of "#black cock slut."
 14
                      • A derogatory posting about a female student, who is short
  15                    in stature, which stated "Jen's Height in Influence".

 16      Plaintiff is informed and believes that students, student assistants employed by
     the District and faculty, including females, Iatinos and other members of minority
  17 groups, were or could be subjected to the postings.

 18
      Because of the seriousness of the allegations, and the facially harassing content of
 19 the postings personally observed by Plaintiff and the other administrators, Plaintiff
    recommended that Nakajima and Gerwig be removed from the classroom. This
 20 request was denied.
 21      On June 28,2017, nearly a month after Plaintiff reported the harassing postings
 22 to Ms. Cohen, Adrian Gonzalez, the Assistant SuperintendenWice President,
    Student Services and the District's Title IX Coordinator, notified Ms. Cohen that an
 23 investigation was required.
    The investigation was conducted by an outside attorney, Jeffrey Love. In conducting
 24 his investigation of the postings, Mr. Love interviewed Dr. Finkenthal, Plaintiff,
    Nakajima, Gerwig, Hector Garcia Villa, another Physics and Engineering Professor,
 25
 26
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   1 and Susan Snow, a professor in the Mathematics Department who was also
     Nakajima's and Gerwig's union representative.
   2
          On November 1, 2017, four months after Plaintiff reported the postings, Mr.
   3
     Love issued a summary of his investigation. In the report, Mr. Love concluded that
   4 Nakajima and Gerwig were not credible and that their claimed unawareness of the
     postings was not plausible. In fact, Mr. Love concluded "clearly [Nakajima and
   5 Gerwig] were aware of these materials [and] had either displayed the items
     themselves or allowed and even encouraged others to do so.~~ Mr. Love further
   6 concluded that Nakajima and Gerwig demonstrated a general attitude of indifference
   7 to following the rules of the District concerning the avoidance of sexual harassment,
     discrimination and maintaining a wholesome student academic environment.''
   8
            Mr. Love found Dr. Finkenthal and Plaintiff to be credible witnesses.
   9
            Notably, this was not the first time Nakajima and Gerwig were found to engage
  10
       in discriminatory conduct. In 2009 (seven years before Plaintiff worked at the
  11   College), the United States Department of Education's OCR Office found that
       Nakajima and Gerwig failed to accommodate a student with a disability. Plaintiff is
  12   informed and believes that instead of imposing any actual discipline for
       discriminating against a disabled student, the District required Nakajima and Gerwig
  13   to undergo sensitivity training. Plaintiff is also informed and believes that the District
       and prior administrators received other complaints about Nakajima and Gerwig but
  14
       that no action was ever taken against them. Further, during the investigation of the
  15   illegal postings, Dr. Finkenthal informed the investigator that shortly after the
       sensitivity training, also in 2009, Nakajima refused to accommodate a student who
  16   used a wheelchair and even told the student that he should just take vitamins and
       "take care" of himself.
  17

  18     On November 27, 2017, Dr. Norman e-mailed Plaintiff and specifically instructed
     Plaintiff to involve Dr. Finkenthal in the oversight of Nakajima and Gerwig and to
  19 have Dr. Finkenthal observe Nakajima and Gerwig so that he could substantiate any
     complaints. Dr. Norman further made it clear that the District would not place
  20 Nakajima and Gerwig on any type of leave, even paid leave, so as to avoid doing
     anything that may "create liability and deviate from our goals and mission."
  21
  22      Dr. Norman's e-mail appeared to request that she wanted Plaintiff and Dr.
     Finkenthal to handle overseeing to Nakajima and Gerwig and made it clear that the
  23 Title IX office was afraid to take any action to protect students from Nakajima and
     Gerwig.
  24
  25      On December 4, 2017, Plaintiff met with Dr. Jack Khan, the Assistant
       Superintendent and Vice-President Instruction to discuss her job duties. In the
  26

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  28
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   1 meeting, Plaintiff discussed her overwhelming work load and advised Dr. Khan that
     she was suffering from anxiety. Dr. Kahn assured Plaintiff that she was an
   2 "incredibly valuable member of the team" and that he was dedicated to providing her
     with his "complete support." Dr. Kahn also promised that they would meet again to
   3
     review Plaintiffs schedule "and discuss strategies to help structure (her] workload
   4 better." Dr. Kahn further stated he "look[ed] forward to continuing" to work together.
     At no point did Dr. Kahn indicate that he believed Plaintiff had done anything that
   5 would place her job in danger. To the contrary, Dr. Kahn expressed his overall
     satisfaction with Plaintiffs work, confirmed that she was "incredibly valuable," and
   6 pledged to accommodate her medical condition.

   7
          On December 12, 2017, the District determined that Nakajima and Gerwig
   8 would only be placed on unpaid leave for one month even though they had a history
     of discriminatory conduct, were just found not only to have engaged in overtly racist
   9 and sexually harassing conduct but also were found to have lied about their sexist
     and racist conduct to the investigator. Dr. Kailikole is informed and believes that this
  10 grossly inadequate punishment was part of a pattern and practice by the District to
  11 cover up misconduct by Gerwig and Nakajima, even though it knew their continued
     presence in the classroom subjected students and faculty to discriminatory and
  12 harassing conduct.

  13 E.      Plaintiff Is Wrongfully Placed On Leave, Non-Renewed And
            Terminated.
  14
  15        On December 14,2017, two days after Nakajima and Gerwig were essentially
       excused from punishment and barely a week after she disclosed her disability,
  16   Plaintiff was suddenly placed on paid leave. Plaintiff was given no warning and was
       not given any specific reason for being placed on leave. In fact, she was escorted
  17   out of her office like a criminal, locked out of her e-mail account and, importantly,
  18   instructed not to return to campus or speak with anyone from the College. The only
       information Plaintiff was given was that she was purportedly under investigation for
  19   some unspecified "breach of confidential information." From that point forward,
       Plaintiff was completely cut-off from the College.
  20
           The District left Plaintiff on paid leave for 5 months without ever informing her of
  21
       the specific nature of the charges against her. During the time Plaintiff was on paid
  22   leave, faculty members were falsely told that Plaintiff was on medical leave. Plaintiff
       could not do anything about the false information the District was disseminating
  23   about her because the District prohibited her from contacting anyone.

  24       In January 2018, Dr. Kailikole hired an attorney and throughout January and
  25   February of 2018 made repeated attempts to obtain further information about why
       she was placed on leave. However, the District refused to provide any substantive
  26
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   1 information. The only thing the District would disclose to Dr. Kailikole was that the
     investigation originated in the Physics and Engineering Department. When provided
   2 with this information, Dr. Kailikole informed the District that she believed the decision
     to suddenly place her on leave and investigate her was in retaliation for reporting
   3
     Nakajima and Gerwig's misconduct.
   4
          On February 27,2018, the District decided to non-renew Plaintiff's contract.
   5 The District did not provide Plaintiff with any reason whatsoever for the decision not
     to renew her contract.
   6

   7      On February 28,2018, the day after her contract was non-renewed without
     explanation, Plaintiff was interviewed by the District's investigator about, among
   8 other things, the incident where Nakajima and Gerwig used an airsoft gun in the
     classroom.
   9
          Plaintiff informed the investigator that Dr. Lisa Norman had asked about the
  10 airsoft gun incident during the investigation of the racially and sexually harassing

  11 conduct by Nakajima and Gerwig. Plaintiff also informed the investigator that she
     contacted Dr. Finkenthal with information about that incident to make sure it was not
  12 being used any more. Dr. Finkenthal said he did not think a gun was being used
     and requested further information so he could check on it. Accordingly, on or about
  13 December 8, 2017, Plaintiff forwarded Dr. Finkenthal an e-mail about the airsoft gun
     incident. Plaintiff is informed and believes that Dr. Norman reviewed this e-mail as
  14
     part of a search of Dr. Kailikole's e-mails that was done without Dr. Kailikole's
  15 consent and as part of an effort by the District to look for information to discredit Dr.
     Kailikole after she reported Nakajima's and Gerwig's racist and harassing behavior.
  16
          Plaintiff's obvious, and only purpose, in forwarding the e-mail about the gun
  17 incident to Dr. Finkenthal was so that Dr. Finkenthal could confirm Nakajima and
  18 Gerwig were following Plaintiff's prior directive not to use the gun in the interest of
     student safety. Advising Dr. Finkenthal of the prior incident with the airsoft gun was
  19 also consistent with the recommendation by Dr. Norman, the Assistant
     SuperintendenWice President, Human Resources, that she involve Dr. Finkenthal in
  20 her oversight of Nakajima and Gerwig.
  21
          When the District's investigator interviewed Plaintiff, he asked her if she ever
  22 agreed with Dr. Finkenthal that he would provide information about the airsoft gun
     incident to any person. Plaintiff informed the investigator that she never had any
  23 agreement with Dr. Finkenthal to provide the information to anyone else. The
     investigator asked Plaintiff if Dr. Finkenthal ever indicated to her that he intended to
  24 provide the information about the airsoft gun incident to his wife or members of the
     District's governing Board or "anything like that." Plaintiff informed the investigator
  25
  26
  27,~---------------------------------~~~~~~~~-~~~~~~--------------------------~
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   1 that Dr. Finkenthal never indicated to her that he planned to provide the information
     to anyone else.
   2
          On or about March 4, 2018, a faculty member sent Plaintiff an unsolicited text
   3
     message informing Plaintiff that Dr. Kahn was telling faculty members that Plaintiff
   4 was not returning. Given that the investigator told her it would be several weeks
     before he completed his investigation and would issue his report, it was clear to
   5 Plaintiff that the District had already decided to terminate her and that it was simply
     using the investigator to manufacture a purported reason.
   6

   7      On May 2, 2018, nearly two months after it began telling faculty members that
     Plaintiff was not returning, Plaintiff received a letter informing that Dr. Kahn was
   8 recommending her termination.

   9        One of the reasons stated for Plaintiffs termination was the absurd and
       implausible conclusion by the District's investigator that Plaintiff did not forward Dr.
  10
       Finkenthal the information about the gun incident for the logical, obvious and entirely
  11   proper purpose of advising the Chair of the Department of relevant information in
       connection with his oversight of two Professors who had just been found guilty of
  12   grossly improper racist and harassing conduct in the classroom. Instead, the
       investigator claims, Plaintiff was actually part of a conspiracy to leak confidential
  13   information outside the College. According to the investigator's report, the full extent
       of the alleged conspiracy was that Plaintiff would forward the e-mail to Dr.
  14
       Finkenthal, who would then forward the e-mail to his wife. The only "evidence" cited
  15   in support of this ridiculous conclusion is that, three days after Plaintiff forwarded the
       e-mail about the gun incident to Dr. Finkenthal, Dr. Finkenthal forward the e-mail to
  16   his wife. Of course, Plaintiff had no idea that Dr. Finkenthal forwarded the e-mail to
       his wife or anyone else, and she certainly did not ask him to do it. Indeed, there is
  17   there a complete lack of evidence that Plaintiff was involved in any such
  18   "conspiracy." The very idea that Plaintiff conspired with Dr. Finkenthal to expose
       Nakajima's and Gerwig's misdeeds to Dr. Finkenthal's wife is nonsensical.
  19   Accordingly, Plaintiff is informed and believes that alleged leak "conspiracy" was
       manufactured to try to cover up the true, discriminatory and retaliatory reasons for
  20   Plaintiffs termination.
       Notably, the investigator's report does not list a specific person who made a
  21
       complaint about Dr. Kailikole. Instead the report simply states that it was "internally
  22   generated at the request of Human Resources." Further, the investigator
       interviewed only two witnesses, Plaintiff and Dr. Finkenthal. He did not interview
  23   anyone from the Human Resources department even though someone in the
       department purportedly originated the complaint. The investigator also did not collect
  24   or review any documents related to the origins of the investigation.
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  28
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                                                                                             Exhibit B
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   1          In addition to the absurd allegation that she conspired to leak confidential
       information to Dr. Finkenthal's wife, the May 2, 2018 letter recommending Plaintiffs
   2   termination contains a list of alleged performance issues, none of which were ever
       presented to Plaintiff as potential reasons for any type of discipline, let alone
   3
       termination.
   4   To add insult to injury, as an additional purported reason for the termination, the
       District stated Plaintiff purportedly failed to appropriately monitor Nakaiima and
   5   Gerwig. This reason is false and pretextual on its face, given that Plaintiff was the
       first Dean to actually risk exercising any supervision over Nakajima and Gerwig.
   6   including reporting their overtly racist and sexually harassing conduct to the District
   7   only to see the District willfully fail to take any real action. Plaintiff is informed and
       believes that the District was angered and embarrassed by Plaintiffs reporting of the
   8   harassing conduct by Nakajima and Gerwig because it required the District to take
       action against tenured professors which risked raising suspicions and questions by
   9   students and faculty if they were punished appropriately, such as by termination or
       placement on an extensive leave. Plaintiff is further informed and believed that the
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       District wanted to punish Plaintiff for asserting her rights by suggesting that the
  11   investigation was illegitimate and retaliatory.

  12       On June 13,2018, the District terminated Plaintiffs employment.

  13        The District's decisions to place Plaintiff on paid leave, non-renew her contract
       and terminate her were all clearly made to retaliate against her for complaining
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       about Nakajima's and Gerwig's illegal conduct, which it quickly swept under the rug
  15   by issuing a disproportionately light penalty they served over winter break, for
       reporting that the purported investigation of the ~~confidentiality" issue was pretextual
  16   and retaliatory, and to discriminate against Plaintiff based upon, and to avoid
       accommodating, Plaintiff's mental health condition. Indeed, until the District was
  17   forced to deal with Plaintiffs disability and her complaint about Nakajima and
  18   Gerwig's conduct and the investigation, she was never given any indication that her
       job -to which she had recently been promoted -was in any danger whatsoever.
  19   Prior to being suddenly placed on leave, Plaintiff had a reputation at the College as a
       strong leader, an advocate for students, a talented fundraiser, and, above all, an
  20   educator dedicated to the College's mission. Plaintiff was completely humiliated by
       her sudden removal from campus, the non-renewal of her contract and being
  21
       subjected to a sham investigation and termination over allegations manufactured by
  22   the District to punish her for raising the embarrassing issue of racism and sexual
       harassment in the classroom and to discriminate against Plaintiff for. and to avoid
  23   accommodating, Plaintiffs mental health condition. As a result of this illegal conduct
       by the District, Plaintiff has suffered lost back wages and benefits, lost future
  24   earnings and benefits, lost promotions, extreme amounts of emotional distress and
       other damages.
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                                                                                             Exhibit B
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   1      Plaintiff alleges causes of action under Government Code section 12940 et
     seq., including under Government Code section 12940(a), Government Code
   2 section 129400), Government Code section 12940(m) and Government Code
     section 12940(n), as well as claims for retaliation in violation of Labor Code section
   3 1102.5 and violations of federal law, including 20 U.S.C. section 1681 and 42 U.S.C.
   4 section 2000d.

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                                                                                       Exhibit B
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   1 VERIFICATION

   2   I, Kathryn Kailikole, am the Complainant in the above-entitled complaint. I have
       read the foregoing complaint and know the contents thereof. The same is true of my
   3
       own knowledge, except as to those matters which are therein alleged on information
   4   and belief, and as to those matters, I believe it to be true.

   5   On November 16,2018, I declare under penalty of perjury under the laws of the State
       of California that the foregoing is true and correct.
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                                                                         San Marcos, CA
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                    Complaint DFEH No. 201811-04256716
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       Date   Filed: November 16, 2018



                                                                                        Exhibit B
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